                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

                                                   )
 Robert Miller Photographer, LLC,                  )
                                                   )     Case No: 3:25-cv-00166
                        Plaintiff,                 )
                                                   )     Hon. Waverly D. Crenshaw, Jr.
               v.                                  )
                                                   )
 The Daily Wire, LLC,                              )
                                                   )
                        Defendant.                 )
                                                   )

                                     NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Susan S. Lafferty, Esq., an attorney admitted to practice in

the United States District Court for the Middle District of Tennessee, hereby appears as counsel

of record for Plaintiff Robert Miller Photographer, LLC.


Dated: March 18, 2025                                  Respectfully submitted,

                                                       By:     /s/ Susan S. Lafferty
                                                       Susan S. Lafferty, Esq. BPR # 025961
                                                       Lafferty Law Firm, Inc.
                                                       1321 Murfreesboro Pike, Suite 521
                                                       Nashville, TN 37217
                                                       Mail to: P.O. Box 292977
                                                       Nashville, TN 37229
                                                       Tel: (615) 878-1926
                                                       Email: ssl@laffertylawtn.com




                                               1

  Case 3:25-cv-00166         Document 15      Filed 03/18/25        Page 1 of 2 PageID #: 54
                                CERTIFICATE OF SERVICE

        I hereby certify that on March 18, 2025, a true and correct copy of the foregoing document
was filed and served via the Court’s ECF filing system upon the following counsel of record:

Craig Sanders
SANDERS LAW GROUP
333 Earle Ovington Blvd., Suite 402
Uniondale, NY 11553
csanders@sanderslaw.group

W. Russell Taber, III
RILEY & JACOBSON, PLC
1906 West End Avenue
Nashville, TN 37203
rtaber@rjfirm.com



                                             s/ Susan S. Lafferty
                                             Susan S. Lafferty




                                                2

  Case 3:25-cv-00166         Document 15       Filed 03/18/25       Page 2 of 2 PageID #: 55
